Case 8:22-cv-01301-SDM-AAS Document 15 Filed 07/18/22 Page 1 of 1 PageID 105



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



   MICHAEL POLELLE,

         Plaintiff,

   v.                                           CASE NO. 8:22-cv-1301-SDM-AAS

   CORD BYRD, et al.,

         Defendants.
   __________________________________/


                                         ORDER

         To certify compliance with Local Rule 3.01(g), the defendants amend

   (Docs. 12, 13) their respective motions to dismiss. The earlier motions (Docs. 8, 9)

   to dismiss are DENIED AS MOOT.

         ORDERED in Tampa, Florida, on July 18, 2022.
